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                      IN THE UNITED STATES DISTRICT COURT
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                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,              CASE NO. 2:06-CR-441-GEB-EFB
14
                   Plaintiff,               [PROPOSED]
15
          v.                                ORDER VACATING APRIL 25,
16                                          2008 STATUS CONFERENCE
     DONALD HAYLES, et al.,                 HEARING
17
                   Defendants.
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21             This matter having come before the Court upon Defendant,

22   Donald Hayles’ Response To Order Setting Status Conference On
23   Defendant Hayles’ Representation And Request To Vacate Status
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     Conference Of April 25, 2008 and the Court being advised;
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26             It is Ordered that the Status Conference scheduled for

27   April 25, 2008 at 9:00 a.m. be vacated and the case remain on
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      Case 2:06-cr-00441-DAD Document 149 Filed 04/14/08 Page 2 of 2


 1   calendar for May 9, 2008 at 9:00 a.m. for further Status
 2   Hearing.
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 4   Dated: April 11, 2008

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                                           GARLAND E. BURRELL, JR.
 8                                         United States District Judge

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